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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



  GANNETT SATELLITE INFORMATION
  NETWORK,

                   Plaintiff,                                       Case No. 22-cv-475-BAH


            v.


  U.S. DEPARTMENT OF JUSTICE,

                   Defendant.


                 DEFENDANT’S ANSWER TO PLAINTIFF’S COMPLAINT

       Defendant, the U.S. Department of Justice (“Defendant” or “DOJ”), hereby answers the

numbered paragraphs of the Complaint of Gannett Satellite Information Network (“Plaintiff”),

ECF No. 1, in the above-captioned action, as follows:

       1.        The allegations in this paragraph consist of Plaintiff’s characterization of this

action, to which no response is required.

       2.        Defendant admits that Plaintiff made the FOIA request at issue in this case, and

otherwise lacks knowledge or information sufficient to form a belief about the truth of the

allegations in this paragraph.

       3.        Admitted.

       4.        The allegations in this paragraph consist of legal conclusions, to which no

response is required.

       5.        The allegations in this paragraph consist of legal conclusions, to which no

response is required.
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        6.      Defendant admits that it received a FOIA request from Plaintiff dated April 9,

2021. Defendant respectfully refers the Court to that request for a full and accurate statement of

its contents.

        7.      Admitted.

        8.      Admitted that Defendant denied Plaintiff’s FOIA request. Defendant respectfully

refers the Court to its response to Plaintiff for a full and accurate statement of its contents.

        9.      Defendant admits that on or around April 14, 2021, Plaintiff appealed the denial

of its request. Defendant respectfully refers the Court to that appeal for a full and accurate

statement of its contents.

        10.     Admitted.

        11.     Admitted.

        12.     The allegations in this paragraph consist of legal conclusions, to which no

response is required.

        13.     The allegations in this paragraph consist of legal conclusions, to which no answer

is required.

        14.     The allegations in this paragraph consist of legal conclusions, to which no answer

is required.

        15.     Defendant admits that it has produced no records responsive to Plaintiff’s request.

The remaining allegations in this paragraph consist of legal conclusions, to which no response is

required.

        16.     Defendant re-alleges its responses to paragraphs 1-15 of the Complaint.

        17.     The allegations in this paragraph consist of legal conclusions, to which no

response is required.



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       18.     The allegations in this paragraph consist of legal conclusions, to which no

response is required.

       19.     The allegations in this paragraph consist of legal conclusions, to which no

response is required.

       20.     The allegations in this paragraph consist of legal conclusions, to which no

response is required.

       The remaining allegations in the Complaint constitute a prayer for relief to which no

response is required. To the extent a response is deemed required, Defendant denies that

Plaintiff is entitled to the relief requested, or to any relief whatsoever. Defendant hereby denies

all allegations in Plaintiff’s Complaint not expressly admitted or denied.

                                           DEFENSES

       1.      Plaintiff is not entitled to information that is exempt from disclosure by one or

more exemptions enumerated in the FOIA.



Dated: April 8, 2022                                  Respectfully submitted,


                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      MARCIA BERMAN
                                                      Assistant Branch Director

                                                      /s/ Cormac A. Early
                                                      CORMAC A. EARLY
                                                      D.C. Bar. No. 1033835
                                                      Trial Attorney, U.S. Department of Justice
                                                      Civil Division, Federal Programs Branch
                                                      1100 L Street, N.W.
                                                      Washington, D.C. 20005
                                                      Tel.: (202) 616-7420
                                                      cormac.a.early@usdoj.gov

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                                 Counsel for Defendants




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